  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 1 of 9 PageID# 40




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division

 UNITED STATES OF AMERICA

                 v.                                      Case No. 1:21-MJ-161

 MICHAEL THOMAS PRUDEN,

                      Defendant.

                   GOVERNMENT’S MOTION FOR REVOCATION
                 OF RELEASE ORDER AND REVIEW OF DETENTION

       The United States of America, by and through its attorneys, Raj Parekh, Acting United

States Attorney, Christopher R. Cooke, Special Assistant United States Attorney, and Marc J.

Birnbaum, Assistant United States Attorney, moves this Court, pursuant to 18 U.S.C. §§ 3142 and

3145(a)(1), for a review of the release order entered by Magistrate Judge Ivan D. Davis on May

12, 2021. The United States also asks the Court to revoke Judge Davis’s release order and direct

that the defendant, Michael Thomas Pruden, be detained pending trial.

                                   PROCEDURAL HISTORY

       On May 6, 2021, the United States charged the defendant by criminal complaint with

assault with a dangerous weapon, in violation of 18 U.S.C. § 113(a)(3). ECF No. 1. A warrant for

the defendant’s arrest issued that same day, ECF No. 5, and the defendant was arrested on May 7,

2021, see ECF No. 6.

       On May 10, 2021, Magistrate Judge Davis held the defendant’s initial appearance hearing.

ECF No. 7. The United States sought a detention hearing based on its belief the defendant

represents a danger to the community because of his conduct in the offense charged and other
  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 2 of 9 PageID# 41




similar conduct. See id. The United States believes that the defendant has assaulted numerous

individuals on multiple occasions over several years at area parks.

       Magistrate Judge Davis conducted the joint preliminary and detention hearing on May 12,

2021. ECF No. 13. At the hearing, the United States called one witness—United States Park Police

Investigator David Wallingford—and moved two documents into evidence—Investigator

Wallingford’s affidavit in support of an arrest warrant, see Gov’t Ex. 1, and a redacted set of three

draft affidavits prepared by United States Park Police Investigator Robert Freeman, see Gov’t Ex.

2. Investigator Freeman’s draft affidavits describe his investigation into a series of assaults

perpetrated in Meridian Hill Park in the District of Columbia over the past several years. The

victims of these attacks positively identified the defendant as their attacker.

       Magistrate Judge Davis found probable cause existed to believe the defendant committed

assault with a dangerous weapon at Daingerfield Island as charged in the criminal complaint. As

to detention, Magistrate Judge Davis noted it was a close call. He indicated the issue would be

much clearer were there no evidence that the defendant had engaged in a series of assaults over a

span of several years, especially given that the charge in this case does not give rise to a

presumption of detention. Because it was a close case, and because there was no presumption in

favor of detention, Magistrate Judge Davis opined that the presumption must be in favor of release

and therefore ordered the defendant released under a set of strict conditions recommended by

Pretrial Services. See id.; see also ECF No. 12 (Pretrial Services Bond Report).

       The United States respectfully requested that Magistrate Judge Davis order a temporary

stay so the United States could expeditiously exercise its right under 18 U.S.C. § 3145(a)(1) to

seek review of his order of release in the District Court. Magistrate Judge Davis immediately

stayed the order of release. See ECF No. 13; see also ECF No. 17.



                                                  2
  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 3 of 9 PageID# 42




                 REVIEW OF DETENTION BY THE DISTRICT COURT

       The United States seeks review of Magistrate Judge Davis’s ruling pursuant to 18 U.S.C.

§ 3145(a)(1). This provision provides that a court with “original jurisdiction over the offense” may

review the release order of a magistrate judge. 18 U.S.C. § 3145(a)(1). On review, the District

Court acts de novo and makes an independent determination based on evidence presented to the

magistrate judge and on additional evidence adduced before the district judge. See United States

v. Clark, 865 F.2d 1433, 1436 (4th Cir. 1989); see also United States v. Fortna, 769 F.2d 243 (5th

Cir. 1985).

                                   BASIS FOR DETENTION

       Section 3142(g) mandates the factors that a judicial officer shall consider in determining

whether pretrial detention is warranted. Here, each and every factor weighs in favor of detention

because each and every factor indicates that no single condition or combination of conditions will

cure the danger the defendant poses—and has posed for several years—to the community.

       1.      The nature and circumstance of the offense charged.

       The Court must first consider “the nature and circumstances of the offense charged,

including whether the offense is a crime of violence.” 18 U.S.C. § 3142(g)(1). The defendant is

charged with assault with a dangerous weapon in violation of 18 U.S.C. § 113(a)(3), which carries

a maximum penalty of up to 10 years in prison. ECF No. 1. The evidence shows that the defendant

sprayed two victims with pepper spray and struck one of those victims on the head multiple times

with a tree branch. See ECF No. 2; Gov’t Ex. 5, at 3. The defendant used such force that the branch

broke on impact. See id. That victim was treated in an ambulance and then transported to the

hospital for treatment for exposure to pepper spray and a laceration to his head. Id. Notably, the

defendant attacked his victims in a national park, Daingerfield Island, in a setting where



                                                 3
  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 4 of 9 PageID# 43




unsuspecting victims would have no reason to believe that they would be subjected to a violent

assault by the defendant, who emerged from the woods after apparently lying in wait to select his

victims.

         Critically, assault with a dangerous weapon is a crime of violence, and “[t]he conclusion

that assault with a dangerous weapon is a crime of violence is bolstered by recent authority from

the Fourth Circuit.” Martino v. United States, No. 1:13-CR-350-2 (LMB), 2020 WL 3579548, at

*4 (E.D. Va. July 1, 2020). While Martino dealt with assault with a dangerous weapon under 18

U.S.C. § 1959, rather than 18 U.S.C. § 113(a)(3), Judge Leonie M. Brinkema specifically noted,

“[t]he Fourth Circuit has also cited approvingly a variety of other cases that ‘reached similar

conclusions in interpreting other assault statutes.’” Id. (quoting United States v. Bryant, 949 F.3d

168, 181 (4th Cir. 2020)). And among other cases, the Fourth Circuit cited approvingly to United

States v. Verwiebe, 874 F.3d 258, 261 (6th Cir. 2017), which dealt with 18 U.S.C. § 113(a)(3).

Furthermore, Chief Judge Mark S. Davis found 18 U.S.C. § 113(a)(3) qualified as a crime of

violence in Ali v. United States, No. 2:10CR56-2, 2019 WL 4261111, at *3 (E.D. Va. Sept. 5,

2019).

         The fact that the defendant’s offense constitutes a crime of violence weighs in favor of

detention. See, e.g., United States v. Soza, No. 1:12CR278 JCC, 2012 WL 3025137, at *1 (E.D.

Va. July 20, 2012). And while any crime of violence alone would, by definition, reflect a danger

to the community, that is especially true here where the defendant’s actions occurred in a public

park, involved two victims, and resulted in one victim’s hospitalization.

         2.     The weight of the evidence.

         The weight of the evidence against the defendant also points strongly in favor of detention.

Both Magistrate Judge Nachmanoff, see ECF No. 5, and Magistrate Judge Davis, see ECF No. 13,



                                                  4
  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 5 of 9 PageID# 44




found probable cause to believe the defendant committed the charged offense. Those independent

findings are buttressed by substantial evidence. As described in the affidavit filed in support of a

criminal complaint and arrest warrant, the defendant’s assault with a dangerous weapon on two

victims was observed not only by the victims themselves, but also by an eyewitness. See Gov’t

Ex. 1. Each of the two victims described the violent attack and the physical characteristics of the

attacker—the defendant—similarly, although the second victim did not witness his friend, the first

victim, being struck by the defendant with a tree branch. See, e.g., Gov’t Ex. 5, at 3, 5. An

eyewitness, however, did observe the defendant striking the first victim with the tree branch and

otherwise described the attack and the attacker in detail consistent with descriptions provided by

the victims. See id. at 3, 5; Gov’t Ex. 1. A second witness observed the defendant after the attack

with no shirt, consistent with the eyewitness’s recollection that the defendant “removed his shirt

and hat in the woods” after violently attacking the two victims. Gov’t Ex. 5, at 4, 8. This second

witness recorded the defendant’s license plate number, which investigators used to obtain the

defendant’s information and driver’s license photograph.

       Once investigators identified the defendant using his vehicle information, they presented

the victim who was hospitalized by the defendant’s violent attack with a photograph array using a

double-blind procedure. Under this procedure, the victim was shown six photographs sequentially,

including five photographs of non-involved individuals and one photograph of the defendant. See

Gov’t Ex. 5, at 19–24. The individuals depicted in the photographs were not identified to the victim

and the officer presenting the photo array did not know which of the depicted individuals was the

suspect. The victim identified the defendant as the individual who had attacked him and his friend.

See id. at 17–18, 20. When officers arrested the defendant at the elementary school where he works,




                                                 5
    Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 6 of 9 PageID# 45




his vehicle was in the employee parking lot with a license plate bearing the number provided by

the second witness at Daingerfield Island.

        In sum, the great weight of the evidence, including eyewitness descriptions and a positive

identification by the primary victim, militates in favor of detention.

        3.      The history and characteristics of the defendant.

        The defendant has no prior arrests and only one theft charge, over two decades ago, that

was dismissed. See ECF No. 12 (Pretrial Services Report). He is currently a fourth-grade teacher

at an elementary school in Maryland. He has no stable residence and, instead, according to his

interview with Pretrial Services, alternates between sleeping in his vehicle, in a storage unit, and

with friends. 1 Id.

        The critical facts here, however, relate to the defendant’s series of assaults against victims

in parks. The United States understands that, over the past several years, several individuals were

attacked in Meridian Hill Park in the District of Columbia. Those assaults involved conduct

substantially similar to what the defendant did in the Eastern District of Virginia. In the D.C. cases,

each of the victims was attacked with pepper spray, some victims were struck with a flashlight (as

opposed to a tree limb at Dangerfield Island), and the attacker often claimed to be a police officer.

After the victim in Alexandria positively identified the defendant as his attacker, investigators met

with three known Meridian Hill victims who also positively identified the defendant as their

attacker. See Gov’t Ex. 2. Furthermore, after police released a public bulletin seeking information

about attacks in Meridian Hill, investigators received a call from a fourth D.C. victim. Importantly,


1
  The United States focuses primarily on the danger the defendant poses to the community because
that risk underlies the United States’ decision to recommend pretrial detention. It is worth noting,
however, that the defendant’s lack of a stable residence, his apparent lack of familial ties to the
community, his extensive international travel, and the prospect of being released into the custody
of a third party who resides over three hours away from the Court are all factors that raise legitimate
concerns regarding the likelihood of the defendant’s appearance at future proceedings.

                                                  6
  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 7 of 9 PageID# 46




that bulletin did not disclose any information or include any physical descriptions of the defendant.

See Gov’t Ex. 4. This fourth D.C. victim, who called investigators in response to the bulletin, also

positively identified the defendant from the photograph array. See Gov’t Ex. 3.

       In total, including the victim in the Daingerfield Island case, five victims have positively

identified the defendant as the person who violently attacked them in a public park using a

dangerous weapon. These attacks occurred in March 2020, June 2020, February 2021, and March

2021. The two most recent attacks occurred in March 2021, within five days of each other.

       While the defendant may have no prior arrests, at this juncture, it is clear that is only

because he has thus far successfully evaded detection by law enforcement. “There is only one

charged offense and Defendant has not been charged with additional crimes in the last year.

However, a cloud of substantial illegal activity surrounds Defendant.” United States v. Pena-

Torres, No. 1:14MJ414, 2014 WL 4546799, at *4 (E.D. Va. Sept. 12, 2014).

       4.      The nature and seriousness of the danger to the community.

       As additional information becomes available, it is increasingly clear that the defendant is

a serial predator, who has preyed on unsuspecting and vulnerable victims in public parks over the

past several years. The defendant’s modus operandi demonstrates a calculated and intentional

approach to carrying out premeditated attacks on carefully selected victims. These are not isolated

events. This is an ongoing course of conduct. The defendant’s crimes of violence reflect a deep-

seated desire to do physical harm to individuals and the community in general. And the defendant’s

serial attacks are all the more concerning given his sensitive position of trust as a fourth-grade

teacher.

       Under these circumstances, the United States respectfully submits there is no single

condition or combination of conditions that will ensure the defendant does not engage in similar



                                                 7
  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 8 of 9 PageID# 47




conduct during the pretrial period, whether the defendant is ordered to remain in Northern Virginia

or is released to a custodian who resides over three hours away from the site of these proceedings.

                                         CONCLUSION

       For the foregoing reasons, the United States respectfully requests that this Court issue an

order revoking Magistrate Judge Davis’s release order. The United States submits that clear and

convincing evidence establishes that the continued detention of the defendant pending trial in this

matter is the only reasonable condition to assure the safety of others.


                                          Respectfully submitted,

                                          Raj Parekh
                                          Acting United States Attorney


                                                              /s/
                                          Christopher R. Cooke
                                          Special Assistant United States Attorney
                                          Marc J. Birnbaum
                                          Assistant United States Attorney
                                          United States Attorney’s Office
                                          2100 Jamieson Avenue
                                          Alexandria, VA 22314
                                          Office: (703) 299-3700
                                          Fax:     (703) 299-3980
                                          Email: Christopher.Cooke@usdoj.gov




                                                 8
  Case 1:21-cr-00131-CMH Document 18 Filed 05/14/21 Page 9 of 9 PageID# 48




                                CERTIFICATE OF SERVICE

       I certify that on May 14, 2021, I filed electronically the foregoing with the Clerk of Court

using the CM/ECF system, which will serve all counsel of record.



                                         By:                       /s/
                                               Christopher R. Cooke
                                               United States Attorney’s Office
                                               2100 Jamieson Avenue
                                               Alexandria, Virginia 22314
                                               Office: (703) 299-3700
                                               Fax:     (703) 299-3980
                                               Email: Christopher.Cooke@usdoj.gov




                                                9
